Case 3:24-cv-06029-ZNQ-JBD    Document 17-13       Filed 08/20/24      Page 1 of 3 PageID:
                                     699



                                 EXHIBIT 12

                   2/29/2024 Consent Judgment (Civil Rights Dkt. 79)
Case
   Case
     3:24-cv-06029-ZNQ-JBD
         3:20-cv-13552-DEA Document
                             Document
                                    7917-13
                                       Filed 02/29/24
                                              Filed 08/20/24
                                                       Page 1 of
                                                              Page
                                                                 2 PageID:
                                                                    2 of 3 PageID:
                                                                           521
                                     700



                          UNITED STATES DISTRICT COURT FOR
                             THE DISTRICT OF NEW JERSEY

  TYSHON EDWARDS,

                 Plaintiff,                               Civ. A. No. 20-13552

  v.

  CITY OF TRENTON,                                        Consent Judgment

                 Defendant.

        Plaintiff Tyshon Edwards and Defendant City of Trenton hereby consent to entry of

 judgment in this matter as follows:

        Judgment shall be entered for Plaintiff on Count III of the Complaint in the amount of

 $5,000,000.00. Such sum is inclusive of any and all attorneys fees and costs allowable by law.

        Plaintiff and Defendant City of Trenton stipulate that $0.00 of this judgment is attributable

 to punitive damages, statutory penalties, or fines, and that Defendant City of Trenton and its agents

 did not knowingly or intentionally violate or deprive Plaintiff of any rights protected by any

 federal, state, or local laws, or commit any acts not reasonably related to the execution and/or

 enforcement of the law, or commit any acts with the knowledge and intent to cause injury or

 damage or which could reasonably be expected to cause injury or damage.

        All other claims versus Defendant City of Trenton are dismissed with prejudice.


   Dated January 26, 2024

   LeVAN STAPLETON SEGAL                              CITY OF TRENTON
   COCHRAN LLC
                                                      By: Wesley Bridges
   By: John S. Stapleton                                   Wesley Bridges
        John S. Stapleton                             319 East State Street
   Four Greentree Centre                              Trenton, NJ 08608
   602 Route 73 N, Suite 303                          609-989-3011
   Marlton, NJ 08503                                  wbridges@trentonnj.org
Case
   Case
     3:24-cv-06029-ZNQ-JBD
         3:20-cv-13552-DEA Document
                             Document
                                    7917-13
                                       Filed 02/29/24
                                              Filed 08/20/24
                                                       Page 2 of
                                                              Page
                                                                 2 PageID:
                                                                    3 of 3 PageID:
                                                                           522
                                     701



   856-259-3300                                  Counsel for Defendant, City of Trenton
   jstapleton@levanstapleton.com
   Counsel for Plaintiff Tyshon Edwards

   NASH PEREZ LLC

   By: Jeffrey L. Nash
       Jeffrey L. Nash
   330 Market Street
   Camden, NJ 08102
   856.246.1022
   jnash@nashperez.com
   Counsel for Plaintiff Tyshon Edwards



 The Court having heard oral argument from the parties on February 28, 2024, and for the
 reasons outlined in the Court's February 29, 2024 Memorandum Order,

 IT IS on this 29th day of February 2024 ORDERED that:

  1. This Consent Judgment is APPROVED.




 ____________________________________
 DOUGLAS E. ARPERT
 UNITED STATES MAGISTRATE JUDGE
